Case 2:04-cr-20232-SH|\/| Document 46 Filed 07/21/05 Page 1 of 3 Page|D 65

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE£D 9¥£%&:-&0-
WESTERN DIVISION

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UNITED sTATEs oF AME:RICA, i._._ ' L;i?,}'.é-FD
C.LEP;& "f_§`,`l' CQURT
No. 04-20232"»%'-}1¥\€?‘! r-L=?-;?\.¢'IPH§S

 
 

VS.

ALFREDO sHAW,

v"vv`I`-fv

Defendant.

 

ORDER DIRECTING DEFENDANT TO FILE
FINANCIAL AFFIDAVIT (CJA 23)

 

Before the court is the March 16, 2005 letter of defendant
Alfredc Shaw requesting appointment of counsel for the purpose of
appeal. Shaw was represented by retained counsel and was never
qualified for appointment of counsel. Shaw is now serving his
sentence at the United States Penitentiary in Beaumont, Texas.

In order to consider appointing counsel for Shaw, the court
requires a completed financial affidavit.

The clerk is directed to send the attached Financial Affidavit
form to Alfredo Shaw, Reg. No. 19683-076, USP Beaumont, United
States Penitentiary, PO Box 26030, Beaumont, TX 77720, with a self-
addressed, stamped envelope for Shaw to return the completed form
to the court.

Upon receipt of the form, Shaw is directed to complete the
form and return it to the court.

IT IS SO ORDERED this 20th day of July, 2005.

DIQ con /<. /éw//~

K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Thls docl.ment entered on the docket sheet In compliance
with R.lle 55 and/or 32!b) FRCrP on ' "' "

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|IJMAGISTRATE gm mar

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V.S.

 

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l:l OTI-{ERPANEL (Specify below)

 

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PERSON REPRESEN'I'ED (Show your full name)

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Materia| Witness
Other

l g Defendant-Adult

2 l:l Dei`endant - Juveni|e Magistrate

3 I:l Appellant

4 l:l Probation Violator Distr'ic¢ Courl

5 m Parole Vio|ator ,Oq' 3033 a
6 L_..l Haheas Petin'oner Court of Appeals

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Name and address of employer:
IF YES, how much do you IF NO, give month and year of last employment
EMPLOY- 9 .
MENT earn per month. $ I-low much did you earn per month? S
If married is your Spouse employed? l:l Yes l:l No
IF YES, how much does your lf a minor under age 21, what is your Parents or
Spouse earn per month'? $ Guardian’s approximate monthly income? $
Have you received within the past 12 months any income from a business, profession or other form of self-employment or in the form
the form of rent payments, interest1 dividends, retirement or annuity payments, or other Sources? |:| Yes |:f No
OTHER RECEWED SOURCES
ASSETS lNCOME IF YES, GIVE THE AMOUNT
RECEIVED & IDENTIFY $
THE SOURCES
CASH Have you any cash on hand or money in savings or checking accounts? [I Yes [:] No IF YES, state total amount $
Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (exeluding ordinary household furnishings and
clothing)? m Yes |:| No
PROP- VALUE DESCR[PTION
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DESCRIBE IT
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UNITD sATES DISTRIC COURT - WETERN DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of thc document docketed as number 46 in
case 2:04-CR-20232 Was distributed by faX, mail, or direct printing on
July 21, 2005 to thc parties listed.

 

 

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167 N. Main St.

Ste. 800

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Honorable Samuel Mays
US DISTRICT COURT

